                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JACOB CORMAN, in his official            :        CIVIL ACTION NO. 1:18-CV-443
capacity as Majority Leader of the       :
Pennsylvania Senate, MICHAEL FOLMER,     :        Three Judge Panel Convened
in his official capacity as Chairman of the
                                         :        Pursuant to 28 U.S.C. § 2284(a)
Pennsylvania Senate State Government     :
Committee, LOU BARLETTA, RYAN            :
COSTELLO, MIKE KELLY, TOM                :
MARINO, SCOTT PERRY, KEITH               :
ROTHFUS, LLOYD SMUCKER, and              :
GLENN THOMPSON,                          :
                                         :
                     Plaintiffs          :
                                         :
              v.                         :
                                         :
ROBERT TORRES, in his official           :
capacity as Acting Secretary of the      :
Commonwealth, and JONATHAN M.            :
MARKS, in his official capacity as       :
Commissioner of the Bureau of            :
Commissions, Elections, and Legislation, :
                                         :
                     Defendants          :
                                         :
              v.                         :
                                         :
CARMEN FEBO SAN MIGUEL, JAMES :
SOLOMON, JOHN GREINER, JOHN              :
CAPOWSKI, GRETCHEN BRANDT,               :
THOMAS RENTSCHLER, MARY                  :
ELIZABETH LAWN, LISA ISSACS, DON :
LANCASTER, JORDI COMAS, ROBERT :
SMITH, WILLIAM MARX, RICHARD             :
MANTELL, PRISCILLA McNULTY,              :
THOMAS ULRICH, ROBERT                    :
McKINSTRY, MARK LICHTY, and              :
LORRAINE PETROSKY,                       :
                                         :
                     Intervenor-         :
                     Defendants          :




                                              1
                                  MEMORANDUM OPINION

BEFORE: Kent A. Jordan, Circuit Judge, United States Court of Appeals for the Third Circuit;
Christopher C. Conner, Chief District Judge, United States District Court for the Middle District
of Pennsylvania; Jerome B. Simandle, District Judge, United States District Court for the
District of New Jersey.

Per Curiam                                                                         March 19, 2018

I.     Introduction

       This case has its genesis in a hard-fought congressional redistricting battle waged in state

and federal courts across the Commonwealth of Pennsylvania. The various antecedent lawsuits

engaged Republican members of the Pennsylvania General Assembly, Democratic elected and

appointed officials of the Commonwealth, Democrat and Republican activists, and numerous

interested parties from within and outside the Commonwealth. The most recent events in that

redistricting affray – namely, the Pennsylvania Supreme Court‟s decision invalidating the 2011

districting map as an unconstitutional partisan gerrymander under the Commonwealth‟s

constitution and its further decision to issue a court-drawn map – are the subjects of the present

lawsuit. The Pennsylvania Supreme Court granted the General Assembly an abbreviated period

of time to enact remedial legislation, subject to the court‟s newly adopted legislative redistricting

criteria. When the General Assembly failed to do so, the court imposed its own remedial

redistricting map. League of Women Voters v. Commonwealth, No. 159 MM 2017, 2018 WL

936941, at *4 (Pa. Feb. 19, 2018).

       The Plaintiffs – Senator Jacob Corman, in his official capacity as Majority Leader of the

Pennsylvania Senate; Senator Michael Folmer, in his official capacity as Chairman of the

Pennsylvania Senate State Government Committee (the “State Legislative Plaintiffs”); and eight

Republican members of Pennsylvania‟s delegation to the United States House of Representatives




                                                  2
(the “Federal Congressional Plaintiffs,”1 and together with the State Legislative Plaintiffs, the

“Plaintiffs”) – contend that the Pennsylvania Supreme Court‟s decisions to strike the 2011 map

and to issue its own replacement map violate the Elections Clause of the United States

Constitution. The Plaintiffs claim that the Pennsylvania Supreme Court usurped the General

Assembly‟s authority to develop congressional districts and effectively gave the General

Assembly only two days to pass remedial legislation. Unsurprisingly, the Defendants have a

decidedly different view. They assert that the Pennsylvania Supreme Court gave the General

Assembly precisely the amount of time it requested: three weeks to enact a replacement map.

The substance and timing of the Pennsylvania Supreme Court‟s orders are the focus of the

Plaintiffs‟ claims against Defendants Robert Torres, in his capacity as Acting Secretary of the

Commonwealth of Pennsylvania, and Jonathan Marks, in his capacity as Commissioner of the

Bureau of Commissions, Elections, and Legislation of the Pennsylvania Department of State

(together, the “Executive Defendants”). The issues presented in this case touch on questions of

high importance to our republican form of government. As the 2018 election cycle quickly

progresses, these issues are of particular salience to the voters of the Commonwealth. The

Plaintiffs‟ frustration with the process by which the Pennsylvania Supreme Court implemented

its own redistricting map is plain. But frustration, even frustration emanating from arduous time

constraints placed on the legislative process, does not accord the Plaintiffs a right to relief.

       The Plaintiffs seek an extraordinary remedy: they ask us to enjoin the Executive

Defendants from conducting the 2018 election cycle in accordance with the Pennsylvania



       1
        The Federal Congressional Plaintiffs are Congressman Lou Barletta (11th District);
Congressman Ryan Costello (6th District); Congressman Mike Kelly (3rd District);
Congressman Thomas Marino (10th District); Congressman Scott Perry (4th District);
Congressman Keith Rothfus (12th District); Congressman Lloyd Smucker (16th District); and
Congressman Glenn Thompson (5th District).


                                                   3
Supreme Court‟s congressional redistricting map and to order the Executive Defendants to

conduct the cycle using the map deemed by the Pennsylvania Supreme Court to be violative of

the Commonwealth‟s constitution. In short, the Plaintiffs invite us to opine on the appropriate

balance of power between the Commonwealth‟s legislature and judiciary in redistricting matters,

and then to pass judgment on the propriety of the Pennsylvania Supreme Court‟s actions under

the United States Constitution. These are things that, on the present record, we cannot do.

II.    Background2

       Following the 2010 decennial census mandated by Article I, Section 2 of the United

States Constitution, Pennsylvania‟s congressional delegation to the United States House of

Representatives was reduced from nineteen seats to eighteen seats. The Pennsylvania General

Assembly thereafter adopted a new congressional redistricting map, which was passed in

December 2011 and signed into law by former Pennsylvania Governor Tom Corbett that same

month (the “2011 Map”). The 2011 Map governed three primary elections, three general

elections, and one special election, until January 22, 2018, when the Pennsylvania Supreme

Court declared it to be “clearly, plainly and palpably” violative of the Commonwealth‟s

constitution and hence invalid. (Compl. Ex. B. at 2.)

       The Pennsylvania Supreme Court‟s rulings came in a lawsuit filed in June 2017 in the

Commonwealth Court of Pennsylvania by the League of Women Voters3 and eighteen individual



       2
          The facts and procedural history described here are derived from the Plaintiffs‟ verified
complaint, attachments thereto, and matters of public record, such as judicial proceedings, of
which we can take judicial notice for purposes of the pending motions. See McTernan v. City of
York, 577 F.3d 521, 526 (3d Cir. 2009) (“In addition to the complaint itself, the court can review
[on a Rule 12 motion] documents attached to the complaint and matters of public record, and a
court may take judicial notice of a prior judicial opinion.” (internal citation omitted)). We view
those facts in the light most favorable to the Plaintiffs. Alston v. Countrywide Fin. Corp., 585
F.3d 753, 758 (3d Cir. 2009).



                                                 4
Pennsylvania voters (the “state-court petitioners”). Prior to the filing of that action, the 2011

Map had not been the subject of suit in federal or state court, though it was later challenged in

two federal cases, Agre v. Wolf, --- F. Supp. 3d ---, 2018 WL 351603 (E.D. Pa. Jan. 10, 2018),

and Diamond v. Torres, No. 17-5054 (E.D. Pa.).4 The state-court petitioners named as

respondents the Commonwealth; Michael Turzai, in his capacity as Speaker of the Pennsylvania

House of Representatives; Joseph Scarnati, in his capacity as Pennsylvania Senate President Pro

Tempore (together with Turzai, the “state legislative respondents”); the Pennsylvania General

Assembly; Thomas Wolf, in his capacity as Governor of Pennsylvania; Michael Stack, III, in his

capacity as Lieutenant Governor of Pennsylvania and President of the Pennsylvania Senate; and

the Executive Defendants before us now. The eighteen individual plaintiffs – all registered

Democrats – claimed that the 2011 Map was an impermissible partisan gerrymander that

intruded on their rights under numerous provisions of the Pennsylvania Constitution. They

specifically asserted that the 2011 Map violated the state constitution‟s guarantees of free

expression, free association, and equal protection, in addition to its Free and Equal Elections




       3
         The Commonwealth Court dismissed the League of Women Voters for lack of
standing. League of Women Voters v. Commonwealth, --- A.3d ---, No. 159 MM 2017, 2018 WL
750872, at *1 n.3 (Pa. Feb. 7, 2018). The eighteen individual plaintiffs remained as plaintiffs
throughout the state-court proceedings.
       4
           In Agre, a group of Pennsylvania residents brought suit seeking a declaratory judgment
that the Pennsylvania General Assembly exceeded its authority under the federal Elections
Clause by enacting the 2011 Map with the intent that it favor Republican candidates over
Democratic candidates. 2018 WL 351603, at *1. Following a four-day trial, a split three-judge
panel entered judgment in favor of the defendants (who largely overlapped with the defendants
in the state-court action). Id. at *2 n.6, *3.
        In Diamond, a separate group of Pennsylvania residents challenged the 2011 Map under
the United States Constitution, alleging that it violated the First and Fourteenth Amendments, as
well as the Elections Clause. The three-judge Diamond panel initially stayed that case pending
the disposition in Agre and subsequently stayed the case indefinitely in light of the Pennsylvania
Supreme Court‟s January 22 Order declaring the 2011 Map invalid.


                                                  5
Clause. League of Women Voters v. Commonwealth, --- A.3d ---, No. 159 MM 2017, 2018 WL

750872, at *8 (Pa. Feb. 7, 2018).

       The Commonwealth Court stayed the matter pending an anticipated decision by the

United States Supreme Court in a case alleging partisan gerrymandering. Id. at *9. On

November 9, 2017, the Pennsylvania Supreme Court granted a request by the state-court

petitioners for extraordinary relief, assumed plenary jurisdiction over the matter, lifted the stay,

and instructed the Commonwealth Court to develop a factual record and issue proposed findings

of fact and conclusions of law by December 31, 2017. Id. The Commonwealth Court proceeded

as instructed, overseeing a flurry of pretrial activity, presiding over a five-day trial, and

submitting recommended findings and conclusions to the Pennsylvania Supreme Court on

December 29, 2017. Id. In the end, the Commonwealth Court concluded that “partisan

considerations [were] evident in the enacted 2011 [Map]” and that, with use of “neutral, or

nonpartisan, criteria only, it is possible to draw alternative maps that are not as favorable to

Republican candidates as is the 2011 [Map].” Recommended Findings of Fact and Conclusions

of Law, League of Women Voters v. Commonwealth, No. 261 MD 2017 (Pa. Commw. Ct. Dec.

29, 2017) at 126. But, the court said, the state-court petitioners had “not articulated a judicially

manageable standard” to measure whether the 2011 Map “crosse[d] the line between permissible

partisan considerations and unconstitutional partisan gerrymandering under the Pennsylvania

Constitution.” Id. at 126-27. It thus concluded that the state-court petitioners “failed to meet

their burden of proving that the 2011 [Map], as a piece of legislation, clearly, plainly, and

palpably violate[d] the Pennsylvania Constitution.” Id. at 127.

       The Pennsylvania Supreme Court took the matter up immediately. It ordered expedited

briefing and, when that was completed, held oral argument on January 17, 2018. Five days later,




                                                   6
on January 22, 2018, it issued a two-page per curiam order striking the 2011 Map for “clearly,

plainly and palpably violat[ing]” the Pennsylvania Constitution and enjoining “its further use in

elections for Pennsylvania seats in the United States House of Representatives[.]” (Compl. Ex.

B. at 2.) Five of the seven justices agreed that the 2011 Map violated the Pennsylvania

Constitution, but only four of seven agreed that the proper course of action, given the temporal

proximity to the 2018 election cycle, was to enjoin use of the 2011 Map for the 2018 primary

and general elections. The court established the following timeline:


      February 9, 2018 – deadline for the General Assembly to submit a remedial congressional
       redistricting map to the Governor;

      February 15, 2018 – deadline for the Governor to approve or reject a proposed remedial
       congressional redistricting map and for the Governor to submit an approved map to the
       Pennsylvania Supreme Court;

      February 15, 2018 – deadline for all interested parties to submit proposed remedial
       congressional redistricting maps to the Pennsylvania Supreme Court if the General
       Assembly did not pass, or the Governor did not sign, a proposed remedial congressional
       redistricting map;

      February 19, 2018 – deadline by which the Pennsylvania Supreme Court would adopt its
       own remedial congressional redistricting map if the General Assembly did not pass, or
       the Governor did not sign, a proposed remedial congressional redistricting map.

The order excluded from its injunction against further use of the 2011 Map a special election for

Pennsylvania‟s 18th Congressional District, which was held on March 13, 2018. It further

instructed that any new congressional redistricting map had to “consist of: congressional districts

composed of compact and contiguous territory; as nearly equal in population as practicable; and

which do not divide any county, city, incorporated town, borough, township, or ward, except

where necessary to ensure equality of population.” (Compl. Ex. B at 3.)

       The Pennsylvania Supreme Court indicated in its January 22 order that an opinion would

follow. On February 7, 2018, two days before the General Assembly‟s February 9, 2018,



                                                 7
deadline to submit a remedial redistricting map to the Governor, a 137-page majority opinion

issued. The opinion announced the specific provision of the Pennsylvania Constitution violated

by the 2011 Map – the Free and Equal Elections Clause.5 League of Women Voters, 2018 WL

750872, at *1. It then set out a litany of statistical measures that it said demonstrated the 2011

Map subordinated the “traditional redistricting requirements” announced in the January 22 order

to other motivations.6 Id. at *50. The court held that finding alone was “sufficient to establish”

that the 2011 Map contravened the Pennsylvania Constitution.7 Id.

       Pennsylvania‟s Republican-dominated General Assembly and Democratic Governor were

unable to agree on remedial congressional redistricting legislation by the deadlines mandated in

the January 22 order. Consequently, in the absence of a legislatively-approved redistricting plan,

the Pennsylvania Supreme Court formulated its own congressional redistricting map with the

assistance of an appointed advisor. The court implemented its map by order of February 19,

2018. Although the parties and several amici submitted a number of proposed remedial maps,

the court determined that its own remedial map was “superior or comparable to all plans

submitted by the parties, the intervenors, and amici[.]” (Compl. Ex. J. at 7.)




       5
          The state constitution‟s Free and Equal Elections Clause provides: “Elections shall be
free and equal; and no power, civil or military, shall at any time interfere to prevent the free
exercise of the right of suffrage.” Pa. Const. art. I, § 5.
       6
         The court‟s conclusions in that regard were rooted in expert evidence that had been
adduced in the evidentiary hearing before the Commonwealth Court.
       7
           Dissents were written by Chief Justice Saylor and Justice Mundy, which, in part,
questioned the wisdom of opining on the inherently political nature of congressional redistricting
and criticized the majority for giving the General Assembly “very little time and guidance” for
enacting remedial legislation. League of Women Voters, 2018 WL 750872, at *63. Justice Baer
concurred in part and dissented in part. He agreed with the majority that the 2011 Map violated
the Pennsylvania Constitution, but disagreed with the majority‟s adoption of specific redistricting
criteria and its failure to afford a “reasonable time for the Legislature to act.” Id. at *58.


                                                 8
       The Plaintiffs commenced this action on February 22, 2018, with the filing of a verified

complaint and contemporaneous motion for emergency injunctive relief. They assert that the

Pennsylvania Supreme Court‟s actions constitute a twofold violation of the Elections Clause of

the United States Constitution. Specifically, they allege in Count I that the Pennsylvania

Supreme Court‟s imposition of mandatory redistricting criteria violated the Elections Clause by

usurping congressional redistricting authority vested exclusively in the General Assembly, and,

in Count II, they allege that the court further violated the Elections Clause when it developed its

own remedial map without providing the General Assembly an adequate opportunity to do so.

The Plaintiffs entreat this Court to enjoin the Executive Defendants from implementing the

Pennsylvania Supreme Court‟s remedial map for the upcoming election and to require the

Executive Defendants to conduct the 2018 election cycle under the 2011 Map.

       We denied the Plaintiffs‟ request for a temporary restraining order and deferred

consideration of the request for a preliminary injunction pending an expedited evidentiary

hearing. Following a scheduling hearing on March 1, 2018, we granted the eighteen individual

state-court petitioners (the “Intervenor-Defendants”) leave to intervene and participate in this

action. The General Assembly is not a party to this suit, and it has not moved to intervene. The

Executive Defendants moved to dismiss the verified complaint for lack of jurisdiction and for

failure to state a claim upon which relief can be granted under Federal Rules of Civil Procedure

12(b)(1) and 12(b)(6). The Intervenor-Defendants (together with the Executive Defendants, the

“Defendants”) moved for judgment on the pleadings on the same grounds under Rule 12(c). The

Defendants‟ Rule 12 motions contend that we lack subject matter jurisdiction over the action

because (i) the Plaintiffs do not have constitutional or prudential standing to bring their Elections

Clause claims, and (ii) the Rooker-Feldman doctrine bars the Plaintiffs from attacking in our




                                                  9
Court the judgment of the Pennsylvania Supreme Court. The Defendants also urge us to abstain

from exercising jurisdiction over this case under the Colorado River and Younger abstention

doctrines because the state-court proceedings are currently pending before the United States

Supreme Court as a result of the state legislative defendants‟ emergency application to stay the

Pennsylvania Supreme Court‟s judgment. The Defendants further argue in their Rule 12 motions

that the Plaintiffs have failed to state a claim because (i) issue preclusion prohibits the Plaintiffs

from litigating issues already decided by the Pennsylvania Supreme Court, (ii) judicial estoppel

precludes the Plaintiffs from raising arguments inconsistent with ones raised by related parties in

Diamond, a separate federal action challenging the constitutionality of the 2011 Map, and

(iii) the Pennsylvania Supreme Court did not usurp the General Assembly‟s authority under the

Elections Clause when it decided to remedy a violation of the Pennsylvania Constitution.

       On March 9, 2018, we conducted a full hearing on those motions and on the Plaintiffs‟

motion for a preliminary injunction.

III.   Legal Standards

       A court must grant a motion to dismiss made under Federal Rule of Civil Procedure

12(b)(1) when it lacks subject matter jurisdiction. In re Schering Plough Corp. Intron/Temodar

Consumer Class Action, 678 F.3d 235, 243 (3d Cir. 2012). Such jurisdictional challenges take

two forms: (1) parties may make a “factual” attack, arguing that one or more of the pleading‟s

factual allegations are untrue, removing the action from the court‟s jurisdiction; or (2) they may

assert a “facial” challenge, which assumes the veracity of the complaint‟s allegations but

nonetheless argues that a claim is not within the court‟s jurisdiction. Lincoln Benefit Life Co. v.

AEI Life, LLC, 800 F.3d 99, 105 (3d Cir. 2015) (quoting CNA v. United States, 535 F.3d 132,




                                                  10
139 (3d Cir. 2008)). In either instance, it is the plaintiff‟s burden to establish jurisdiction.

Mortensen v. First Fed. Sav. & Loan Ass’n, 549 F.2d 884, 891 (3d Cir. 1977).

        Rule 12(b)(6) of the Federal Rules of Civil Procedure provides for the dismissal of

complaints that fail to state a claim upon which relief may be granted. Fed. R. Civ. P. 12(b)(6).

To survive a Rule 12(b)(6) motion, a complaint must allege “sufficient factual matter, accepted

as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quotation marks and citation omitted). A motion for judgment on the pleadings

brought under Rule 12(c) is analyzed under the same standards that govern a motion under Rule

12(b)(6). Zimmerman v. Corbett, 873 F.3d 414, 417 (3d Cir. 2017).

IV.     Discussion

        As already described, the Executive Defendants and Intervenor-Defendants have

collectively raised several jurisdictional, justiciability, abstention, preclusion, and merits

arguments in answer to the Plaintiffs‟ verified complaint. Because standing “is always an

antecedent question,” Hamilton v. Bromley, 862 F.3d 329, 334 (3d Cir. 2017), our analysis

begins with examination of the Plaintiffs‟ standing to bring suit.8 That is also where the case

ends.

        A.      Article III Standing

        Article III, Section 2 of the United States Constitution limits the jurisdiction of the

federal courts to resolving only “cases” and “controversies.” U.S. Const. art. III, § 2; Raines v.

Byrd, 521 U.S. 811, 818 (1997). “No principle is more important to the [federal] judiciary‟s

proper role in our system of government than [that] constitutional limitation[.]” Raines, 521 U.S.

at 818 (citation omitted). When subject matter jurisdiction is lacking, our only remaining

        8
           “[I]t is familiar law that a federal court always has jurisdiction to determine its own
jurisdiction.” United States v. Ruiz, 536 U.S. 622, 628 (2002).


                                                  11
function “is that of announcing the fact and dismissing the cause.” Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 94 (1998) (quoting Ex parte McCardle, 7 Wall. 506, 514 (1868)).

       There can be no “case” or “controversy” if the party seeking relief does not have

standing. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). The standing requirement

guards against abuse of federal jurisdiction and limits which litigants may seek legal redress in

our courts. Id. The standing analysis thus focuses on whether the particular parties before the

court are “the proper part[ies] to bring [the] suit[.]” Raines, 521 U.S. at 818.

       To establish Article III standing, a party seeking relief must establish that it has suffered

injury to a legally protected interest, which injury is “fairly traceable to the challenged action and

redressable by a favorable ruling.” Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n,

135 S. Ct. 2652, 2663 (2015) (internal quotation marks and citations omitted). These elements

are often referred to by the labels “injury-in-fact,” “causation,” and “redressability.” Finkelman

v. Nat’l Football League, 810 F.3d 187, 193-94 (3d Cir. 2016). The party invoking jurisdiction

bears the burden of establishing standing. Spokeo, 136 S. Ct. at 1547.

               1.      The State Legislative Plaintiffs

       The State Legislative Plaintiffs initiated this lawsuit in their official capacities as

Pennsylvania state senators. The verified complaint, however, does not allege an injury specific

to those two plaintiffs. On the contrary, the claims in the complaint rest solely on the purported

usurpation of the Pennsylvania General Assembly‟s exclusive rights under the Elections Clause

of the United States Constitution. We do not gainsay that these Senate leaders are in some sense

aggrieved by the Pennsylvania Supreme Court‟s actions. But that grievance alone does not carry

them over the standing bar. United States Supreme Court precedent is clear – a legislator suffers




                                                  12
no Article III injury when alleged harm is borne equally by all members of the legislature.

Raines, 521 U.S. at 821.

       The principles governing a legislator‟s standing to bring suit to vindicate a purported

institutional injury are set forth in three cases: Raines v. Byrd, 521 U.S. 811 (1997); Coleman v.

Miller, 307 U.S. 433 (1939); and Arizona State Legislature v. Arizona Independent Redistricting

Commission, 135 S. Ct. 2652 (2015). Raines involved a challenge by four United States senators

and two United States congressmen to the federal Line Item Veto Act. 521 U.S. at 813-14. The

Supreme Court concluded that the legislators lacked personal standing to sue because the injury

they alleged was an “institutional injury (the diminution of legislative power), which necessarily

damage[d] all Members of Congress … equally.” Id. at 821. The Court emphasized that the

individual legislators were not “deprived of something to which they personally [were] entitled,”

and that they were claiming an injury in their “official capacities.” Id. It reasoned that the injury

ran with the position, not the person, and had the plaintiff legislators retired the next day, their

injury would evanesce. Id.

       The Raines Court contrasted the facts before it with the Court‟s earlier decision in

Coleman. In Coleman, a bloc of twenty state legislators voted against adoption of a proposed

amendment to the federal constitution. 307 U.S. at 435-36. The forty-person legislature split

evenly on the vote, and the state‟s lieutenant governor, as presiding officer of the state senate,

cast a decisive tie-breaking vote to pass the amendment. Id. at 436. The legislators challenged

the lieutenant governor‟s right to cast a tie-breaking vote. Id. The Supreme Court held that the

legislators had standing because they had an “interest in maintaining the effectiveness of their

votes,” which collectively could have defeated ratification, had the lieutenant governor not cast

his vote. Id. at 438, 441. The Court later cautioned, when deciding Raines, that Coleman is a




                                                  13
case of limited application, which “at most” stands “for the proposition that legislators whose

votes would have been sufficient to defeat (or enact) a specific legislative Act have standing to

sue if that legislative action goes into effect (or does not go into effect), on the ground that their

votes have been completely nullified.” Raines, 521 U.S. at 823.

        The Supreme Court applied those principles in Arizona State Legislature to uphold the

standing of the entire Arizona legislature to challenge a state constitutional amendment, adopted

by popular initiative, that placed sole authority for congressional redistricting in an independent

redistricting commission. 135 S. Ct. at 2658, 2665. The Court distinguished Raines as involving

only six individual legislators, and analogized the Arizona legislature to the bloc of senators in

Coleman. Id. at 2664-65. The state constitutional amendment at issue, the Court said, “would

„completely nullify‟ any vote by the Legislature, now or „in the future,‟ purporting to adopt a

redistricting plan.” Id. at 2665 (quoting Raines, 521 U.S. at 823-34) (alteration omitted).

        The State Legislative Plaintiffs‟ allegations fit squarely within Raines‟s explicit limitation

on legislative standing. They bear little resemblance to the facts of Coleman or Arizona State

Legislature. The State Legislative Plaintiffs are only two of 253 members of the Pennsylvania

General Assembly, just as the plaintiffs in Raines were only six out of 535 members of the

United States Congress. Two votes could not on their own have defeated or enacted any

proposed remedial redistricting legislation that might have – but did not – come up for a final

vote in the Pennsylvania Senate.

        The State Legislative Plaintiffs rejoin that their respective leadership roles in the state

senate overcome that math and bring their interests within the purview of Coleman. That

assertion is flawed in two significant respects. First, the Pennsylvania Senate is only one of two

chambers of the General Assembly. Bicameralism is meaningful, and the Pennsylvania Senate




                                                  14
cannot pass legislation or override a gubernatorial veto by itself. See Pa. Const. art. III, § 4 (“No

bill shall become a law, unless on its final passage the vote is taken by yeas and nays, the names

of the persons voting for and against it are entered on the journal, and a majority of the members

elected to each House is recorded thereon as voting in its favor.”); Pa Const. art. IV, § 15

(requiring two-thirds of each chamber of the Pennsylvania General Assembly to vote to override

a gubernatorial veto). The State Legislative Plaintiffs do not allege that either senator can

command the two-thirds majority necessary in both chambers to override a gubernatorial veto.

Second, and meaning no disrespect to any legislative leader, we can find no support – and none

has been offered – for the implied proposition that the Republican Caucus is obligated to vote in

line with a leader‟s suggestion. That they may vote in unison in a matter of great importance is

perhaps a reasonable guess, but it is still just a guess.

        Furthermore, the State Legislative Plaintiffs themselves frame their alleged injury as the

deprivation of “their legislative authority to apportion congressional districts” and “the federally-

mandated „adequate opportunity‟ to craft a remedial plan[.]” (Pl. Opp. Br. at 29.) That injury is

indistinguishable from the claimed “diminution of legislative power” the Raines Court explained

affects all members of the legislative institution equally. 521 U.S. at 821. The Pennsylvania

Supreme Court‟s alleged usurpation of the General Assembly‟s power did not deprive Senator

Corman or Senator Fulmar of any rights vested personally in them by the Elections Clause. Any

responsibilities afforded the State Legislative Plaintiffs by nature of their respective leadership

positions in the Pennsylvania Senate derive from state law. Their claimed injury thus does not

emanate from the federal Elections Clause.

        In short, Supreme Court precedent compels dismissal of the State Legislative Plaintiffs‟

claims. Their two votes are inadequate as a matter of law to allow a lawsuit premised on an




                                                   15
institutional injury to the General Assembly. Accordingly, the State Legislative Plaintiffs lack

standing to bring the Elections Clause claims asserted in the verified complaint.

               2.      The Federal Congressional Plaintiffs

       The Federal Congressional Plaintiffs fare no better, albeit for different reasons. The

Defendants‟ attack all three of the underpinnings of the Federal Congressional Plaintiffs‟

standing: injury-in-fact, causation, and redressability.

                       i.      Injury-In-Fact

       To satisfy the injury-in-fact requirement, a plaintiff must allege a violation of a legally

protected interest that is “actual or imminent.” Finkelman, 810 F.3d at 193 (citation omitted).

The Federal Congressional Plaintiffs allege that they were doubly injured by the Pennsylvania

Supreme Court‟s purported disregard of the Elections Clause, asserting, first, that their current

congressional districts are “radically altered,” thereby reducing their incumbency advantage, and,

second, that they have already invested time, energy, and resources campaigning in their current

districts. (Pl. Opp. Br. at 36.) We address each of those claimed injuries in turn.

       Case law strongly suggests that a legislator has no legally cognizable interest in the

composition of the district he or she represents. In City of Philadelphia v. Klutznick, 503 F.

Supp. 663 (E.D. Pa. 1980), for example, certain state and federal legislators challenged the 1980

decennial census conducted in the City of Philadelphia. Id. at 669. The legislators claimed that

an undercounting of the city‟s population could lead to inaccurate congressional and legislative

reapportionment. Id. at 672. The court disagreed that the legislators had a basis for complaint,

holding that elected officials suffer no cognizable injury when their district boundaries are

adjusted. Id. That interest, the court observed, belongs to the voters, “if [to] anyone[.]” Id. The

Supreme Court recently echoed this theme in Arizona State Legislature when it said, a “core




                                                 16
principle of republican government” is “that the voters should choose their representatives, not

the other way around.” 135 S. Ct. at 2677 (citation omitted); cf. Moore v. U.S. House of

Representatives., 733 F.2d 946, 959 (D.C. Cir. 1984) (Scalia, J., concurring) (“In my view no

officers of the United States … exercise their governmental powers as personal prerogatives in

which they have a judicially cognizable private interest.”).

        The several cases cited by the Federal Congressional Plaintiffs do not persuade us

otherwise. (See Pl. Opp. Br. at 35-36 (collecting cases).) Those cases are distinguishable on the

law, the facts, or both. Johnson v. Mortham, for example, is situated on a questionable legal

premise. 915 F. Supp. 1529 (N.D. Fla. 1995). The court there allowed a congresswoman to

intervene in her individual capacity to address a challenge to the constitutionality of her district

under the Equal Protection Clause of the United States Constitution. Id. at 1533, 1538. In

deciding that the congresswoman had standing, the court cited the decision of the United States

Court of Appeals for the Fifth Circuit in LULAC, Council No. 4434 v. Clements, 884 F.2d 185

(5th Cir. 1989). But LULAC itself made the point that “[a] voting rights case challenges the

election process rather than the individuals holding office,” emphasizing that “government

officials [in their official capacities] . . . have no legally protectable interest in redistricting.” 884

F.2d at 188 (emphasis added). The remaining cases cited by the Federal Congressional Plaintiffs

concern allegedly unconstitutional rules or regulations affecting rights of a candidate for office.9

None stand for the proposition that an elected representative has a legally cognizable interest in

the composition of his or her electoral district.

        9
         See Cook v. Gralike, 531 U.S. 510, 531 (2001) (Rehnquist, J., concurring) (explaining
that candidates have standing to bring First Amendment challenges to ballot provisions); Storer
v. Brown, 415 U.S. 724, 738 & n.9 (1974) (candidates have standing to challenge statute
burdening “their access” to get their names on a ballot); Vote Choice, Inc. v. DiStefano, 4 F.3d
26, 36-37 (1st Cir. 1993) (candidates have standing to challenge public financing law).



                                                    17
       Setting aside whether the Federal Congressional Plaintiffs‟ argument that already

invested campaign resources will now be wasted bears on an injury that inheres to the candidate

or the candidate‟s campaign organization or both, the issue of injury-in-fact becomes irrelevant

when one considers, as we do in the following section, the question of causation. Even if the

wasted investment of resources were a legally cognizable injury, the Federal Congressional

Plaintiffs still lack standing because they cannot establish that such an injury was caused by the

Elections Clause violations alleged in the verified complaint. The cost of shifting district

boundaries – in terms of both campaign funding and constituent fealty – is surely appreciable.

But the Federal Congressional Plaintiffs have identified no legal principle tethering that cost to a

legally cognizable interest in the composition of their electoral districts under the Elections

Clause of the Constitution.

                       ii.     Causation

       Article III‟s causation element is satisfied when an alleged injury is “fairly traceable to

the challenged action[.]” Finkelman, 810 F.3d at 193 (citation omitted). The Third Circuit has

described the causation requirement as “akin to „but for‟ causation[.]” Id. at 193 (internal

citation omitted). Even an “indirect causal relationship” may suffice when a plaintiff adequately

establishes a “fairly traceable connection between” a claimed injury and an alleged violation. Id.

at 193-94 (internal quotation marks and citation omitted). Here, the injuries of which the Federal

Congressional Plaintiffs complain are not fairly traceable to the claims asserted in the verified

complaint, namely that the Pennsylvania Supreme Court unlawfully imposed mandatory

redistricting criteria (Count I) and failed to provide the General Assembly an adequate

opportunity to pass a remedial congressional redistricting map (Count II).




                                                 18
        The Federal Congressional Plaintiffs‟ injuries, to the extent they have any, fail this

causation requirement as to both Count I and Count II because their alleged harm is not rooted in

the claims they have pled. The Pennsylvania Supreme Court‟s decision to review the 2011 Map

is not itself the basis of either Count I or Count II. Indeed, the Plaintiffs readily concede that the

Pennsylvania Supreme Court has the authority to review redistricting legislation for compliance

with the Pennsylvania Constitution. That is a sensible concession. See Ariz. State Legislature,

135 S. Ct. at 2673 (“Nothing in [the Elections] Clause instructs, nor has this Court ever held, that

a state legislature may prescribe regulations on the time, place, and manner of holding federal

elections in defiance of provisions of the State‟s constitution.”); Proprietors of Charles River

Bridge v. Proprietors of Warren Bridge, 36 U.S. 420, 510 (1837) (“The laws and constitutions of

the states belong solely to the state courts to expound.”). The Federal Congressional Plaintiffs‟

“injury” is that the 2011 Map did not survive, and that is plainly what all of the Plaintiffs dislike,

but it is not their legal complaint.

        The record reflects an unbridgeable gap in the causal chain between the Federal

Congressional Plaintiffs‟ claimed injuries and the alleged Elections Clause violations. That is,

even if the Pennsylvania Supreme Court had simply ordered that a new redistricting map be

drawn, but had given the General Assembly free substantive rein (Count I) and a few months‟

time (Count II) to accomplish that objective, the Federal Congressional Plaintiffs‟ injury would

persist. In that circumstance, the court would not have committed any of the improprieties

alleged in the verified complaint, but district boundaries would still have changed. At bottom,

the Federal Congressional Plaintiffs‟ injuries are traceable only to the court‟s decision to

invalidate the 2011 Map and its mandate that a new map be adopted – acts that the Plaintiffs

concede are “undoubtedly” within the state court‟s authority. (See Pl. Reply Br. at 2-3




                                                  19
(commenting that it is “undoubtedly true” that “a state court ... has the authority to invalidate a

congressional districting plan that violates state law”).) Their injuries are not fairly traceable to

the substantive decision that the redistricting map be drawn according to specific criteria or to

the process that actually led to the court-drawn map. The alleged violations of the Elections

Clause, as framed by the Plaintiffs themselves, relate only to those significant but limited points.

Accordingly, the Federal Congressional Plaintiffs have not established Article III standing.10

       B.      Prudential Standing: Third-Party Standing11

       Distinct from Article III‟s immutable standing requirements are the judge-made

prudential limitations on standing. Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S.

Ct. 1377, 1386 (2014); Bennett v. Spear, 520 U.S. 154, 162 (1997). Those limitations include

“the general prohibition on a litigant‟s raising another person‟s legal rights[.]” Lexmark Int’l,

134 S. Ct. at 1386 (citation omitted); see also Warth v. Seldin, 422 U.S. 490, 499-500 (1975).12



       10
          Because the Plaintiffs‟ standing arguments fail at either the injury-in-fact or the
causation stage of an Article III standing analysis, we do not address Article III‟s redressability
requirement.
       11
            The Intervenor-Defendants‟ motion for judgment on the pleadings argued that “[a]ll
Plaintiffs lack prudential standing because their claims „rest … on the legal rights or interests of
third parties.‟” (Int. Def. Br. in Supp. MJP at 6 (citation omitted).) The Federal Congressional
Plaintiffs did not respond to that argument at all, representing to us at the March 9 hearing that
they did not “appreciate the fact that [the Intervenor-Defendants] were raising a prudential
standing argument[.]” (Mar. 9, 2018 Hr‟g Tr. at 74:7-8.) The Intervenor-Defendants therefore
have a colorable argument that the Federal Congressional Plaintiffs forfeited their arguments on
prudential standing. See Griswold v. Coventry First LLC, 762 F.3d 264, 274 n.8 (3d Cir. 2014)
(explaining that a party had waived an argument “having neglected to properly brief the issue
and having conceded as much at oral argument”). Given the frenetic pace of briefing in this
matter, however, we will overlook the Federal Congressional Plaintiffs‟ potential forfeiture and
resolve the prudential standing issue on its merits.
       12
           Third-party standing is understood as one of the doctrines of “prudential standing.”
Lexmark Int’l, 134 S. Ct. at 1387 n.3. The Supreme Court recently discussed the overarching
concept of prudential standing in Lexmark International, Inc. v. Static Control Components, Inc.,
and clarified that, although several doctrines are usually analyzed under that label, those


                                                  20
Review of the Plaintiffs‟ verified complaint reflects that their claims fail the prudential standing

prong as well.

       A party that meets Article III‟s standing requirements generally must rest its claim for

relief on a violation of its own rights and not the rights of a third party. The Pitt News v. Fisher,

215 F.3d 354, 361-62 (3d Cir. 2000). An exception to that limitation exists when the third party

“asserting the right has a „close‟ relationship with the person who possesses the right … [and

when] there is a „hindrance‟ to the possessor‟s ability to protect his own interests,” Kowalski v.

Tesmer, 543 U.S. 125, 130 (2004) (citation omitted), and “[t]he litigant [has] suffered an „injury-

in-fact,‟ thus giving him or her a „sufficiently concrete interest‟ in the outcome of the issue in

dispute,” Powers v. Ohio, 499 U.S. 400, 411 (1991) (internal quotation marks and citation

omitted). Absent a “hindrance” to the third-party‟s ability to defend its own rights, this

prudential limitation on standing cannot be excused. Kowalski, 543 U.S. at 130; accord Barrows

v. Jackson, 346 U.S. 249, 257 (1953) (permitting third-party standing because “it would be




doctrines may not implicate ideas about Article III “standing” at all. For instance, the Court
suggested that the “zone of interests” test is better understood as assessing whether a particular
plaintiff states a claim, rather than whether that plaintiff has standing. Id. at 1386-87. In
contrast, the “rule barring adjudication of generalized grievances” implicates Article III standing
concerns. Id. at 1386. Third-party standing, however, is “harder to classify” but may be “closely
related to the question whether a person in the litigant‟s position will have a right of action on the
claim[.]” Id. at 1387 n.3 (citation omitted). The Lexmark Court noted that the case did not
present a question of third-party standing and left “consideration of that doctrine‟s proper place
in the standing firmament [to] await another day.” Id.
        While Lexmark took note that for a court to decline jurisdiction “on grounds that are
„prudential,‟ rather than constitutional[,] ... is in some tension with our recent reaffirmation of the
principle that a federal court‟s obligation to hear and decide cases within its jurisdiction is
virtually unflagging,” id. at 1386 (internal question marks and citation omitted), the Court
nevertheless continues to apply that doctrine of third-party standing. See, e.g., Sessions v.
Morales-Santana, 137 S. Ct. 1678, 1689 (2017) (conducting third-party standing analysis to
conclude that son could rest claim for relief on legal rights of his deceased father). So too will
we.


                                                  21
difficult if not impossible for the persons whose rights are asserted to present their grievance

before any court”).

        The Elections Clause vests authority to prescribe “[t]he Times, Places and Manner of

holding Elections for Senators and Representatives … in each State by the Legislature thereof[.]”

U.S. Const. art. I, § 4, cl. 1. The Supreme Court interprets the words “the Legislature thereof,”

as used in that clause, to mean the lawmaking processes of a state. Ariz. State Legislature, 135

S. Ct. at 2673. The Elections Clause, therefore, affirmatively grants rights to state legislatures,

and under Supreme Court precedent, to other entities to which a state may, consistent with the

Constitution, delegate lawmaking authority. See id. at 2668. The Plaintiffs are neither the

Pennsylvania General Assembly nor a group to which Pennsylvania has delegated the

Commonwealth‟s lawmaking power. As far as we can tell on this record, the Elections Clause

claims asserted in the verified complaint belong, if they belong to anyone, only to the

Pennsylvania General Assembly.

        Assuming arguendo that the Plaintiffs could fashion a cognizable claim to assert the

prerogatives of the General Assembly, they can only do so if the General Assembly faces a

hindrance to vindicating its own rights. That is demonstrably not the case. The General

Assembly was an independent party to the state-court proceedings, was represented by its own

counsel, and filed its own brief to protect its institutional interest in legislative privilege. Its co-

respondents in that case – the state legislative respondents – presently have an emergency stay

application pending before the United States Supreme Court seeking to enjoin implementation of

the Pennsylvania Supreme Court‟s judgment. See Turzai v. League of Women Voters of Pa., No.

17A909 (filed Feb. 27, 2018). The General Assembly undertook a fight that is in fact still going

on.




                                                   22
       The Plaintiffs argue that, because the General Assembly lost in that fight and cannot re-

litigate the matter, it truly is hindered and cannot assert its own rights. That line of argument,

however, could always be made by someone associated with a losing party. It is untenable in

light of multiple doctrines protecting the finality of judgments. See, e.g., Taylor v. Sturgell, 553

U.S. 880, 892 (2008) (issue preclusion); Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 10, 14 (1987)

(Younger abstention); Great W. Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d 159,

163-64 (3d Cir. 2010) (Rooker-Feldman doctrine); Nationwide Mut. Fire Ins. Co. v. George V.

Hamilton, Inc., 571 F.3d 299, 307 (3d Cir. 2009) (Colorado River abstention). We need not

analyze the applicability of those doctrines. It is enough that the Plaintiffs themselves

acknowledge that one or more of them would block the General Assembly‟s path. That is meant

to be the end of it, unless the United States Supreme Court chooses to take up the case.

       The Plaintiffs have not presented us with any reason to believe the General Assembly

could not vigorously defend its rights in that forum. We therefore conclude that none of the

Plaintiffs has prudential standing to assert claims for relief premised on rights granted to the

Pennsylvania General Assembly by the federal Elections Clause.

V.     Conclusion

       We hold that the federal Elections Clause violations that the Plaintiffs allege are not the

Plaintiffs‟ to assert. Because fundamental principles of constitutional standing and judicial

restraint prohibit us from exercising jurisdiction, we have no authority to take any action other

than to dismiss the Plaintiffs‟ verified complaint. Moreover, the deficiencies identified herein

are legal rather than factual in nature. Accordingly, we conclude that leave to amend would be

futile. For the foregoing reasons, the Plaintiffs‟ verified complaint will be dismissed, and

Plaintiffs‟ motion for preliminary injunction will be denied.




                                                 23
     FOR THE COURT:

      s/ Kent A. Jordan
     Kent A. Jordan, Circuit Judge
     United States Court of Appeals
     for the Third Circuit

      s/ Christopher C. Conner
     Christopher C. Conner, Chief District Judge
     United States District Court
     for the Middle District of Pennsylvania

      s/ Jerome B. Simandle
     Jerome B. Simandle, District Judge
     United States District Court
     for the District of New Jersey




24
